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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

FRANKLIN ARMORY HOLDINGS, INC.,                     :       CIVIL ACTION
and FRANKLIN ARMORY, INC.,                          :
          Plaintiff,                                :
                                                    :
       v.                                           :        No. 20-5681
                                                    :
ROBERT JOSEPH GALLAGHER, and                        :
IN THE FIELD DEFENSE,                               :
           Defendants.                              :

                                              NOTICE

       AND NOW this 13th day of August, 2021, upon receipt of an email from Defendant

informing the Court that defense counsel intends to withdraw from this matter, the Court notifies

defense counsel that any such motion must be filed by August 24, 2021 at 12:00 p.m. with

proper service. In the interim, counsel must abide by the current scheduling order. The Court will

forward the email from Defendant to defense counsel.



                                                            BY THE COURT:

                                                            /s/ Chad F. Kenney

                                                            CHAD F. KENNEY, JUDGE
